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{0/4/2006 Knox, Catherine 10/4/2008 Knox, Catherine
UNITED STATES DISTRICT COURT 1 EXHIBITS
DISTRICT GF COLORADO 2 No. 88 E-mail to Mr. Trine from Ms. Knox, 9 1
MOISES CARRANZA-REYES, } -
) 5/11/05
Plaintiff, } 3
} No. 89 Catherine 4. Knox Time and 1k
Vv. ) No. O8CV-00377-WD-BNB
\ Expense Report
THE PARK COUNTY BOARD oF } 5 No. 90 c¥ for Catherine HM. Knox 16
COUNTY COMMISSTONER; PRED } 6 Ne, $1 Report of Catherine M, Knex 29
WEGENER, individually and in} 7 No. 92 Pages from APIC Text of Infection 31
his official capacity as }
Sheriff of Park County, } Control and Epidemiology
Colorado; MONTE GORE, ) 8
individually and in his } No. 93 State of Colorade Nurse Practice Act 43
official capacity as Captain }
of Park County Sheriff's } 9
Department; VICKIE PAULSEN, } it
Individually, and in her ] ii
official capacity as
. 2
Registered Nurse for Park ) 12
County Celorada; and JAMES 1 La
BACHMAN, M.D., individually i id
and in hts official capacity J
is
as Medical Director of the 1 ‘~
Park County Jail, ié
) lG
Defendants. } li
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BERPOSTTION OF 1S
ATHER THEM, RNOX

of Defendants

     

 

 

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Court Reporter

 

10/4/2006 Knox, Catherine 10/4/2006 Knox, Catherine
PEARANCES +
: EARANCES ¢ i PORTLAND, OREGON; WEDNESDAY, OCTOBER 4, 2066
2 For the Plainrift: MR. GILLIAN A. TRINE
> sla
Attorney at Law . Bilt aus
3 1435 Arapahoe Avenue 3 ‘ * *
Boulder, CO 80302 4 CATHERINE H, KNOX L
4
5 3 3 wi i bef i f
For the Defendants, MS. MELANIE B, LEWES called as a witness in behalf of the Defendants,
5 Pauisen: Attorney at Law & having first been sworn by the Reporter

1712 Pearl Street +

 

testifies as follows:

 

    

 

& Boulder, Co 80307
4 . TION
7 For the Netendants, MR. ANDREW iT. JURS - EAAMINATION
Bachman! Attorney ak Lav 9 BY MS. LENIS:
Sui
8 Suite 900 id QO, Could you please state your name and
400 South Colorado Blyd
. i S | for 2c .
8 Glendale, Colarade #0246 ii business address for the record
16 For the Defendants, HS. JENNIFER bL. VEIGA iz A. My name is Catherine i. Knox. Wy business
oe i a . at baw . . . a
Park County, Wegener, Attorney at bau 13 address is One Lincoln Center, Suite 380, 10300 5.%.
11 Gore: Suite 606
- i Y « & i 1 > F223.
(Via Phone} 1128 Lith Skreet id Greenburg Road, Portiand, Gregon, 9/223
12 Menver, Colorado 30202 is @. Have you ever been deposed hefore?
13 16 &. 1 have been deposed before.
Also Present: (None)
14 1? O. Iwill go over some rules anyway to try Lo
15 INDEX ié make this proce a little bit casier. Basicaliy if
é ne Ta Yt AGE ia. : : oe i
16 BAAMINATION Be: PAGE No 18 you could wait until 1 finish asking my questions
17 Ms. Lewis 4 - i69
3a shh i t t t
18 Mr. Jars 109 - 138 2a before you answer, it helps the court reporter get a
19 Ms. Veiga i3n - 142 21 cleaner record down.
20 Ms wis td2 . 1 .
ee Ms. Lawl: id2 o, if you can answer verbally instead of
21 Mr. Trine 142 - id?
an 23 nodding your heac because the court reporter can't
23 get that on the record. if you could answar by
24 saying yes or no when the question calls for that

 

 

2 Paulsen’s A-20 4

 
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10/4/2006 Knox, Calherine

expectations but nothing specific about that to laok
for to moniter his condition, thether it was getting
better or deteriorating.

] believe that she -~- given that -- and
there ara some standards to back this up, that he was
presenting a second time for the same complaint, and,
in fact, his -- he had additional symptoms, so it
should have been clear thal the symptomatic efforts
to -treak him were not working and at that point to
have called and obtained more specific either orders
or medical direction te be implemented before what is
essentially a 48-hour wait for the next time health
care staff are present in the jail.

T think the -- so Whal I was I guess Erying
to say and what she did not consider, what actions,
the two that I can think of is to have discussed with
the physician or the nurse practitioner his case and
whether or not lab work or medications, more than
these over-the-cotinter, could be ordered and to have
provided I Lhink -- not fF think, but more specific

instructions to the officers about the things like

 

how much finict he needed, ison

 

diarrhea, being sure that

 

oT bis conval ee

 

G. You said something interesting

 

oF

10/4/2006 Knox, Catherine

You said that his condition on the 7th suggested that
the treatment modalities used on the 6th were not
working, correct?

A, Correct.

QO. What about with regard Lo his temperature?
Isn't it true that his khemperature decreased from the
first day to the second day?

A. His temperature did decrease.

9. Wouldn't that sugyest that khe ibuprofen was
working?

A. I ERink you're drawing a -- it's nok a
conclusion that F would draw.

QO. And please explain why not,

A. The reason is that you're -- yes. The
temperature is lower. It could be a subnormal
temperature which could he significant, You
generally can’t take a single vital sign out of a
group of vital signs and use it in isolation from
everything else to predict whether someone is getting
better or nok.

He has a more rapid pulse here. I think

 

he continu

 

he's got -- hazed on what's

 

at risk of dehydration, and the rapid pulse would
evidence of that. He now bas vomiting in addiftien to

all of the other symptoms. i do not believe that on

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10/4/2006 Knox, Catherine

the basis of temperature alone you could come to the
conciusion that he was getting better and not worse,

9. Is it your opinion that the symptoms he
bresented with on the 6th and the 7th indicated he
had a strep infection to a nurse at the time being
presented with that?

A. No, I do not, I think on the 7th it would
be reasonable for the nurse to not know, and I -Lhink
it would be reasonable for the nurse to see that
this ++ again, assuming that the nurse had collected
the data to know that these symptoms started
within -- would it be three -- three days helore the
7th? Am T correct on my time frame? He had had
symptoms two days hefore the ofh which was Thursday.
They started) Tuesday, so now he's three days on the
Vth; that he is continuing to have these kinds of
symploms. He is reporlLing back -- do you remember
her instructions were that if his condition is worse,
rebort back? He is reporting back; that you would
come te the conclusion that he has -- there is som
Yeneraiized problem here that needs to he worked up.

Yoocic,

  

near

 

by run-of-the-mill viral ingection?

10/4/2006 Knox, Catherine

O, Sure, (t's my experience just as a person
that averybody gets stemach bugs. They get bugs and
fevers at various times throughout the year. That's
what I would describe as kind of the run-of-the-mill
viral infection. ‘fou have a fever. You feel ill.
You don't go to the doctor. You recover on your own,
t's nen-eventful.

Hy question is; Did Me. Carranza-Reyes
present with symptoms that indicated he had something
more Ehan what the average person, you know,
experiences, doesn't go to khe dochor for, to the
extlenk you know?

A. The way I would answar your question is that
I believe that Vickie Paulsen knew that there were
other people in the same pod whe were haviny symptoms
of an upper respiratory infection, maybe some nausea
and diarrhea. I have a clear recollection about the
fin-like symptoms. What is different is that this
person is seeking ker oul amongst al} others for
atkention to a sore throat. He has vital signs that
are -- have some abnormalities in them, and

goa difference.

 

 

that, and maybe

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it's twe parts, these are symptoms that have been in
place since Monday night or Tuesday day, and that
that's a long period of time for symptoms like these
ta kind of continue to be reported as getting worse
rather than better.

Q@. What's a typical period of time?

A. Two to three days. Ff you kind of look at
the typical instructions, typical instructions I have
seen and I'm familiar with that have te do with
fever, nausea and vomiting, the patient presents a
second time or the fever continues for a period of
48 hours, that at that point you need to contact a
medical provider for more specific orders.

@. De we know whether his fever persisted for
more than 4& hours?

A. Well, we know that on the 6th he had a fever
and that he reported keing warm to touch I thought
for a couple of days earlier than that. He reported
a fever, Here under the A ib says the skin is warm
and dry to touch, it may very well be that he has

got 4 feyoar ane

   

Lemnperalure. i

    

icn as I have

 

in the run-of-t

6t

10/4/2656 Knox, Catherine

described in?

A. & person wili feel more comfortable. They
will report having some relief of symptoms.

o. Fron which medications; do you know?

A. When you said symptomatic, to me that
includes also rest, water, fluids, Warmth, all of
thase things.

@. Is it your experience in corrections that
inmates who are incarcerated frequent medical
providers more often than the general population
does?

A, I want te be thoughtful in my answer to you.

There is a general belief that that is so,
and yet when you look more carefully at it there are
many ceasons Why people who are incarcerated request
medical attention more Frequently, and that is

largely because in the first place they're unable toa

 

go to the grocery store and by 3 Treatment.
They have to see a medical provider for iL. There

are many visits that are a result of that. Almost

any request for any kind of medical device has La be

   

saughh. adoon having an encounter.

    

Then both alf is one

and You see

   

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this in insured populations as well, there is an
increase in the number of requests for medical
attention when a person is first covered. Shen you
first come to jail, if someone has been without
medical coverage, you will see an increase in request
for attention because of that.

Shen you add to that his own story of kind
of crossing the border and so forth, it would -- yes.
1 think there is a lot of reasons to come to the
conclusion that people who are incarcerated will seek
medical attention more frequently than people in the
general community.

Oo. F€ want te go back to something you said
about the strep infection, I wank ko make sure I
understand your position or the exkent of your
opinions in this case.

Ne you have an opinion that Ms. Paulsen
should have recagnized a strep infection in
Mr. flarranga-Reyes on March 6th and March Jih?

A, First of all, i dom't think { have even used

the term that he had a sLrep infection. T think that

 

   

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10/4/2006 Knox, Catherine
think that a nurse necessarily would recognize or be
able to diagnose strep infection based on his
presentation on his second encounter,

Oo. So your opinion is that she should have done
more than she did on March 6th and 7Lh to track down
the cause of whatever was bothering him but not
necessarily that, he presented with definite signs of
a strep infection --

A. That's correct.

@. -- that she didn't recognize?

A. What's correct. I'm sorry. I interrupted
you

QO. That’s okay.

A. Thal’s correct.

@. If we could go to March &th now.

A, Good. We're moving along.

Q. Twon't take that personally.

A. No. Please don't. ¢ think you are being
very thorough. Are you referring fo my report?

©. Yeah.

Now, she gets called at 3:00 a.m,
Marck ohh, Yr

&,  Correch.

Q.  Abour Hr. Csrranze-Reyss, right?

A. Correcsh.

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CATHERINE HM. KNOX
I have read the transcript of the deposition
taken on October 4, 2006, at Portland, Oregon, and
take the following additions or corrections:

PAGE LINE CORRECTION AND REASON FOR CORRECTION

CATHERINE HM. KNOX
Subscribed and sworn to before me this _ day of

a 2006,

 

Notary Puhiie for Lhe Stale
of _
residing at

My Comission Expires:

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Park County

   

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